


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Murphy, J.), imposed January 14, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The record of the plea proceeding did not demonstrate that the defendant knowingly, voluntarily, and intelligently waived his right to appeal, and thus, the purported waiver of the defendant’s right to appeal is not enforceable (see People v Colon, 153 AD3d 550 [2017]; People v Head, 147 AD3d 1083 [2017]; People v Bynum, 142 AD3d 1183 [2016]; People v Burnett-Hicks, 133 AD3d 773 [2015]). Nevertheless, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Chambers, Sgroi, Maltese and Connolly, JJ., concur.
 
